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     EXHIBIT 18
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Name:                                             SSN or EIN:                                                      Claimant #:


     GCCF                                          GULF COAST CLAIMS FACILITY
     2000-F                                  FULL REVIEW FINAL PAYMENT CLAIM FORM
This Full Review Final Payment Claim Form is to be completed for individuals or businesses who wish to receive a Full Review Final
Claim Payment for damages suffered as a result of the Deepwater Horizon incident on April 20, 2010, and resulting oil discharges (the
“Spill”).
A claim for a Full Review Final Payment provides for a complete assessment of PAST and FUTURE (if any) damages sustained as a
result of the Spill. Acceptance of the Gulf Coast Claims Facility (“GCCF”) Final Payment Offer for final payment of a Full Review
Final Payment Claim will require you to sign a Release and Covenant not to Sue. For your review, a sample of the Release and
Covenant Not to Sue that you will be required to sign if you accept the GCCF’s Final Payment Offer accompanies this Full Review
Final Claim Form. If you accept that Final Payment Offer when made and sign the Release, you will be forever waiving and
releasing all claims that you may have against BP or any other party other than claims for physical or mental health injury (“Bodily
Injury”) or by shareholders of BP or other Released Parties for alleged violations of Securities laws (“Securities Claim”) in
connection with the Spill. If you accept a Final Payment Offer for a physical injury or death claim you will receive a copy of a
Release of Bodily Injury Claims which will release all Bodily Injury claims related to the Spill. You are under no obligation to
accept the GCCF’s Final Payment Offer. You are free to reject the GCCF’s Final Payment Offer and to participate in other legal
actions associated with the Spill, or to submit any claim for payment to the Coast Guard’s National Pollution Funds Center (the
“Coast Guard”).
To learn more about filing a claim for a Full Review Final Payment and for a copy of the Protocol for Interim and Final Claims, go to
www.gulfcoastclaimsfacility.com, call toll free at 1-800-916-4893, or visit a GCCF Site Office.



                 Send me all future communications and notices in the following language (check only one box)

           English                             Spanish                              Vietnamese                                        Khmer


                              Indicate whether you have previously filed a claim (check only one box)

          I previously filed a Claim with the GCCF                                         I am a new Claimant to the GCCF


                                                   SECTION I. INSTRUCTIONS
1.    If you previously filed a claim for Emergency Advance Payment, you MUST indicate your existing GCCF Claimant Identification
      Number at the top of each page of this Form.
      If this is the first claim you are submitting to the GCCF, the GCCF will assign you a Claimant Identification Number. That Claimant
      Identification Number will allow you to track the status of your claim online and will be your Claimant Identification Number
      throughout the claims process.
      You can get information about your claim online at www.gulfcoastclaimsfacility.com, by phone toll free at 1-800-916-4893, or in
      person at a GCCF Claims Site Office.

2.    If you are an Individual Claimant, enter your Social Security Number in the box at the top of each page. If you are a Business Claimant,
      enter your Employer Identification Number in the box at the top of each page.

3.    The Claimant must print the name of the Individual or Business Claimant and sign and date the Claim Form in Section VIII.

4.    You may fill out and submit a Full Review Final Payment Claim Form and provide supporting documents to the GCCF online by
      visiting the GCCF’s website at www.gulfcoastclaimsfacility.com, or by mail, email, overnight delivery, fax or in person. If you submit
      your Full Review Final Payment Claim Form online, you must submit all supporting documentation within five (5) days of your online
      filing. If you submit your Full Review Final Payment Claim Form by mail, email, overnight delivery, fax or in person, you must submit
      all supporting documentation with your Claim Form. Claim applications and supporting documentation that are submitted in person are
      not retained at the GCCF Claims Site Offices. These materials are sent to the GCCF processing center in Dublin, Ohio, or are scanned
      and sent to the processing center via the internet.

                                                                                                    Ex. 18
                                                                                                    Sample Release and Covenant Not to Sue,
                                                    Full Review Final Payment Claim Form – Page 1   http://www.gulfcoastclaimsfacility.com/sample_release.pdf (last visited
                                                                                                    Feb 28, 2011).
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Name:                                                  SSN or EIN:                                                                           Claimant #:


                                           SECTION II. CLAIMANT INFORMATION


                                                     II.A. Individual Claimant Information

Provide the following information about the person who was affected or injured by the Spill. All Individual Claimants must complete
each question in this section. (If you are filing for a business, skip this section and proceed to Section II.B)

1.   Name:                                    Last                                                            First                                              Middle Initial


2.   Current Address:                         Street

                                              City                                                            State                                              Zip Code

                                              Parish/County                                                   Country

3.   Home Phone Number:                                                           (       |     |   ) |       |       |       | - |      |     |   |   |

4.   Cell Phone Number:                                                           (       |     |   ) |       |       |       | - |      |     |   |   |

5.   Email Address:

6.   Date of Birth:

7.   Social Security Number:
                        or                                                                                    |           |       |    | - |       |   | -   |    |    |     |    |
     Individual Taxpayer Identification Number:

8.   Other Name Used (Maiden Name, Previous Married Name(s), Aliases):

          Provide complete information about your employment status since January 1, 2010 (add more pages if necessary):

9.   Current      Name                                                                                                                   Period of employment
     Employer:                                                                                                                           ________________ to: ________________
                  Street

                  City                                                                                                                   State                   Zip Code

                  Parish/County                                                                                                          Country

                  Employer Identification Number (EIN)        |    |    | -   |       |         |   |     |       |           |       | (from your W-2 or 1099 form)

     Other/       Name                                                                                                                   Period of employment
     Previous
                  Street                                                                                                                 ____________ to:_____________
     Employer:
                  City                                                                                                                   State                   Zip Code

                  Parish/County                                                                                                          Country

                  Employer Identification Number (EIN)        |    |    | -   |       |         |   |     |       |           |       | (from your W-2 or 1099 form)

10. Does the Claimant own any part of a business listed above and/or serve as an officer in the business? If so, name the applicable
    business and check either or both boxes below and specify the percentage of ownership and/or the office held:

     Name of business: _____________________________________________________________________________________________

        Owner (specify percentage):___________________________                                Officer (specify title):___________________________________




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Name:                                             SSN or EIN:                                                                                                                Claimant #:


                                                  II.B. Business Claimant Information

Provide information in Section II.B. ONLY if you are completing this Form for a business that was affected by the Spill.

                                                   II.B.1. Information about the Business

11. Name of Business:

12. Type of Business:

13. Business Address:        Street


                             City                                                                                                                    State                                                            Zip Code


                             Parish/County                                                                                                           Country


14. Phone Number:                                                                     (           |                   |           ) |           |            |               | - |        |           |           |               |

15. Website Address:

16. Other Business Name:

17. Name of Business on Federal Income Tax Return:

18. Employer Identification Number (EIN):                                             |               |                   | -           |        |               |            |       |           |           |                   |
                         or
    Check here if EIN is also your
    Social Security Number                                                        |           |                   |               | - |                  |               | - |            |           |               |               |

19. Date and Place Founded/Incorporated:                         Date:_________________________                                                 Place:___________________________


                                      II.B.2. Information about the Authorized Business Representative

20. Name:                   Last                                                      First                                                                                                                           Middle Initial


21. Title:

22. Home Address:           Street
    (if different from
    Business Address)       City                                                          State                                                     Zip Code                                              Country


23. Phone Number:                                                                         (               |                   |     ) |              |               |        | - |           |           |               |           |

24. Cell Phone Number:                                                                    (               |                   |     ) |              |               |        | - |           |           |               |           |

25. Email Address:


26. Social Security Number:                                                           |           |                       |         | - |                    |               | - |            |           |                   |           |
                       or
    Individual Taxpayer Identification Number:                                            |                   |                   | -       |        |                   |        |       |           |               |               |




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Name:                                           SSN or EIN:                                                       Claimant #:



                                       SECTION III. ATTORNEY INFORMATION

Complete this section only if you are represented by a lawyer for this Full Review Final Payment Claim. If you complete this section, all
communications from the GCCF will be with the lawyer you have identified unless your lawyer instructs us otherwise in writing.
You must complete each question in this section if you are represented by a lawyer. Previous information provided about Attorney
Representation will not apply to this Full Review Final Payment Claim.

27. Lawyer Name:              Last                                                   First                                        Middle Initial


28. Law Firm Name:

29. Law Firm Address:         Street

                              City                                                   State                 Zip Code               Country

30. Law Firm Phone Number:                                                   (   |      |    ) |   |   |     | - |    |   |   |      |

31. Law Firm Email Address:




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Name:                                             SSN or EIN:                                             Claimant #:


                    SECTION IV. CLAIM INFORMATION FOR FULL REVIEW FINAL PAYMENT
Check which Claim Type(s) you want to submit. Enter the amount you are claiming for each Claim Type. If you have previously received
a payment, do not include that amount in the amount you are requesting. All Claimants must complete this Section. You must indicate
each Claim Type that you want considered in your Final Payment Offer below; you will receive only one Final Payment Offer
based on an evaluation of all Claim Types indicated below.
You must provide documentation or evidence of the damage or injury for each Claim Type checked below. The Gulf Coast Claims
Facility Document Requirements accompanies this Full Review Final Payment Claim Form and lists the REQUIRED supporting
documentation you must submit to support each Claim Type. For each Claim Type you submit, you must provide documentation to
support your Claim. You must complete this form and submit the completed form to the GCCF along with all supporting documentation.
(You are not required to resubmit any documentation you previously submitted with an Emergency Advance Payment Claim or Interim
Payment Claim.)



                                           IV.A. Claims for Removal and Clean Up Costs

        CLAIMANT IS SUBMITTING A REMOVAL AND CLEAN UP COSTS CLAIM FOR $________________
Check the box above and enter the amount of your claim if you are seeking to recover costs incurred to remove oil discharged by the Spill
and/or costs to prevent, minimize or mitigate oil pollution when there was a substantial threat of a discharge of oil due to the Spill. You can
claim costs for both preventative and clean up measures.
If you are claiming multiple removal and clean up actions and need additional pages, photocopy this page before filling it in and attach the
copy to this Claim Form for submission. Make as many copies as you need.
If you need more space to answer any questions, please use a blank page and attach it to this Claim Form for submission.

(A.1)    Was the Removal and Clean Up action taken approved by the Federal On-Scene
                                                                                                                   Yes         No
         Coordinator and/or consistent with the National Contingency Plan?

(A.2)    Provide the address where the Removal and Clean Up action took place:

          Street

          City                                                                  State                          Zip Code

          Parish/County

(A.3)    Provide a description of the Removal and Clean Up action:




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Name:                                            SSN or EIN:                                              Claimant #:


                                       IV.B. Claims for Real or Personal Property Damage

        CLAIMANT IS SUBMITTING A REAL OR PERSONAL PROPERTY DAMAGE CLAIM FOR $_____________

Check the box above and enter the amount of your claim if you are seeking damages for any physical damage to real, personal or business
property that you own or lease.
If you are an owner of a property that you lease to someone else, you must notify the lessee that you are submitting a claim. If you lease
property from someone else, you must notify the owner that you are filing a claim.
If you suffered damage to more than one piece of property and need additional pages, photocopy this page before filling it in and attach the
copy to this Claim Form. Make as many copies as you need. Identify the type of Personal Property that was damaged or destroyed (i.e.,
boat, equipment, machinery) and, if applicable, the make, model, year and identification number.
If you need more space to answer any questions, please use a blank page and attach it to this Claim Form for submission.

(B.1)     If you are claiming damage to Real Property, provide the address of the property. If you are claiming damage to Personal
          Property, provide the address where the damage occurred:

           Street

           City                                                                State                           Zip Code

           Parish/County


(B.2)     If you are claiming damages to Personal Property, list the type of Personal Property that was damaged (i.e. boat,
          equipment, machinery) and provide the additional information, as applicable:

           Type of Personal Property

           Make                                                                Model

           Year                                                                Identification Number


(B.3)     Describe your relationship to the Real or Personal Property:                                 Owner        Lessor

(B.4)     Provide a description of the property damage sustained as a result of the Spill, and how the damage occurred:



(B.5)     Were you working for the Vessels of Opportunity at the time of the property
                                                                                                                  Yes        No
          damage sustained due to the Spill?




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Name:                                            SSN or EIN:                                              Claimant #:


                                             IV.C. Claims for Lost Earnings or Profits

        CLAIMANT IS SUBMITTING A LOST EARNINGS OR PROFITS CLAIM FOR $__________________
Check the box above and enter the amount of your claim if you are seeking damages for lost earnings or profits due to the Spill. Business
Claimants seeking lost earnings or profits must complete questions C.8.– C.15.
If you need more space to answer any questions, please use a blank page and attach it to this Claim Form for submission.


                             IV.C.1. Questions for Individual Claimants Seeking Lost Earnings or Profits

(C.1)    State the occupation and job title you had at the time of the Spill:

          Occupation:                                                               Title:


(C.2)    Describe the nature of business of your employer at the time of the Spill:




(C.3)    State the total lost earnings or profits you have suffered as a result of the Spill to date and describe how you have calculated
         these losses:




(C.4)    Describe in detail the efforts you have made to find work or additional work since the Spill:




(C.5)    State the amount of any job hunting expenses you have incurred since the Spill:                         $_____________________

(C.6)    Provide a description of the loss you sustained as a result of the Spill and how the Spill caused the loss:




         Lost my Job:                    Work Hours Reduced:                                 Pay/Tips Reduced:

(C.7)    Provide the name and address of your Employer at the time of the Spill:

          Name

          Street

          City                                                                 State                             Zip Code

          Parish/County




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Name:                                          SSN or EIN:                                             Claimant #:


                             IV.C.2. Questions for Business Claimants Seeking Lost Earnings or Profits

(C.8)   State the sources of income or types of customers for the business at the time of the Spill:




(C.9)   Describe the nature of business at the time of the Spill:




(C.10) Describe in detail any efforts you have made to increase revenues or reduce costs since the Spill:




(C.11) State the total amount in operating costs you have saved (or were able to avoid) as a result
                                                                                                            $_____________________
       of reduced operations since the Spill:

(C.12) State the total loss in revenues the business has suffered as a result of the Spill to date and how you have calculated those
       losses:




(C.13) State the total loss in profits the business has suffered as a result of the Spill to date and how you have calculated those
       losses:




(C.14) Provide a description of the loss the business sustained as a result of the Spill and how the loss occurred:




(C.15) Provide the business address where the loss occurred:

         Street

         City                                                                 State                         Zip Code

         Parish/County




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Name:                                            SSN or EIN:                                           Claimant #:


                 IV.D. Claims for Loss of Subsistence Use of Natural Resources (Individual Claimants only)

        CLAIMANT IS SUBMITTING A LOSS OF SUBSISTENCE USE OF NATURAL RESOURCES CLAIM
        FOR $______________
Check the box above and enter the amount of your claim if you suffered damages to your ability to rely, without purchase, on natural
resources for food, shelter, clothing, medicine or other minimum necessities of life because of the Spill. Identify below in Section D.2 the
natural resource that you relied on for subsistence prior to the Spill, and how it has been affected by the Spill.
If you need more space to answer any questions, please use a blank page and attach it to this Claim Form for submission.

(D.1)    Provide a detailed description of the loss of subsistence as a result of the Spill:




(D.2)    Identify the natural resource that you relied on for subsistence prior to the Spill and how it has been affected by the Spill:




(D.3)    Describe how frequently you use this natural resource for subsistence and its approximate monthly value to you:




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Name:                                            SSN or EIN:                                           Claimant #:


                             IV.E. Claims for Physical Injury or Death (Individual Claimants only)

        CLAIMANT IS SUBMITTING A PHYSICAL INJURY OR DEATH CLAIM FOR $____________________
Check the box above and enter the amount of your claim if you are seeking damages for physical injury or death proximately caused by the
Spill or the explosion and fire associated with the Deepwater Horizon incident on April 20, 2010, or by the clean-up of the Spill.
If you need more space to answer any questions, please use a blank page and attach it to this Claim Form for submission.

(E.1)    Were you working for the Vessels Of Opportunity at the
                                                                             Yes          No
         time your physical injury occurred?

(E.2)    Were you working on the Removal and Clean Up
                                                                             Yes          No
         actions at the time your physical injury occurred?

(E.3)    Provide the date you were first injured and whether the         Date                              Resolved            Ongoing
         injury is resolved or ongoing:

(E.4)    If you are seeking damages for death, provide the name          Name                                           Date
         of the decedent and the date of the death:

(E.5)    Provide a brief description of the physical injury sustained as a result of the Spill, and how the injury occurred:




(E.6)    Provide the address where the injury was experienced:

          Street

          City                                                                  State                        Zip Code

          Parish/County




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Name:                                           SSN or EIN:                                           Claimant #:


                              SECTION V. COLLATERAL SOURCE COMPENSATION
All claimants must complete this section. You must complete this section to provide information on unemployment benefits, private
insurance or any other replacement income received relating to any Claim Type. Legally authorized garnishments, liens, or similar forms of
attachments received relating to your claim will be honored and deducted from any payment.

32. Have you received any compensation from BP for your losses due to the Spill?                                    Yes      No

33. Total amount of compensation received from BP for your losses due to the Spill:                   $

34. Have you received any compensation from GCCF for your losses due to the Spill?                                  Yes      No

35. Total amount of compensation from GCCF for your losses due to the Spill:                          $

36. Have you received compensation for state unemployment benefits?                                                 Yes      No

37. For what period of time did you receive compensation for state unemployment benefits?

38. Total amount of unemployment benefits received:                                                   $

39. Have you received compensation from private insurance for damages due to the Spill?                             Yes      No

40. Name of Carrier or Provider:

41. Account or Policy Number:

42. For what period of time did you receive compensation from private insurance?

43. Total amount of insurance benefits received:                                                      $

44. Have you received any other replacement income, such as severance pay?                                          Yes      No

45. For what period of time did you receive this other replacement income?

46. If you are still receiving this other replacement income, when will these benefits end?

47. Total amount of other replacement income received:                                                $




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Name:                                            SSN or EIN:                                                                 Claimant #:



                          SECTION VI. REPRESENTATIVE CLAIMANT INFORMATION

You must complete each question in this section if you are filling out this Claim Form for an individual claimant affected or injured by the
Spill who is deceased, is a minor, or is incompetent or legally incapacitated and unable to complete the Claim Form for himself or herself.
(You must provide proof that you are a duly appointed Representative.) See Section VII of the Gulf Coast Claims Facility Document
Requirements for the documents required to establish authority to act as the Representative Claimant or visit the website at
www.gulfcoastclaimsfacility.com. Business claimants do not complete this section.

48. Reason person affected or injured by the Spill
    is unable to complete the Claim Form:

49. Your relationship to Claimant:                              Spouse              Parent              Child
                                                                Sibling             Administrator       Executor
                                                                Other (specify): ______________________________

                                           Provide your name and contact information below.

50. Last Name:


51. First Name:


52. Middle Name:

53. Current Address:        Street


                            City                                                        State                    Zip Code                      Country


54. Home Phone Number:                                                              (        |       |   ) |     |       |   | - |     |   |       |       |


55. Cell Phone Number:                                                              (        |       |   ) |     |       |   | - |     |   |       |       |


56. Email Address:

57. Social Security Number:                                                     |        |       |       | - |       |       | -   |   |       |       |       |
                       or
    Individual Taxpayer Identification Number:
                                                                                |        |       |       | - |       |       | -   |   |       |       |       |

58. Type of proof submitted that you are a duly
    appointed Representative:




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Name:                                                SSN or EIN:                                                     Claimant #:



                                             SECTION VII. METHOD OF PAYMENT

Complete this section to choose how you would like to receive your payment. You may choose to receive payment by check or by a direct
wire deposit/electronic fund transfer into your account. Payments made by wire will be made from the New York, NY area. Based on
your selection, complete the appropriate section below. Do not complete both sections. Legally authorized garnishments, liens, or similar
forms of attachments relating to your claim will be honored and deducted from your payment. The GCCF will report annually to federal and
state taxing authorities, using a form 1099 or state form equivalent, for certain payments made. The GCCF will send you a copy of that
form, but cannot give you tax advice regarding any payment issued to you. You should consult with your own tax advisor to determine the
impact of any payment you receive from the GCCF on your individual tax situation.

                                          VII.A. Election to Receive Payment by Wire Transfer

Complete this section if you want to receive your payment by direct deposit/electronic fund transfer. If you want to receive your payment
by check, do not complete this section.

59. Do you want to receive your payment by direct deposit/electronic fund transfer?                                             Yes          No

60. Bank to Which Wire is to be Sent:         Bank Name


                                              Street


                                              City                                         State                   Zip Code              Country


61. Bank Telephone Number:

62. Bank ABA/Routing Number:

63. Account Name:


    If the Account Name for your bank account differs from your
    name or the name of your business, please also explain the
    reason for the difference in the box to the right.

64. Account Number:


                                             VII.B. Election to Receive Payment by Check

Complete this section if you want to receive your payment by check. Checks will be sent by overnight courier and will be made payable to
the individual or business claimant who completes this Claim Form. (Be sure to provide your Street Address for overnight delivery.) If you
want to receive your payment by wire transfer, do not complete this section.

65. Do you want to receive your payment by check?                                                                  Yes              No

66. If Yes, and you are an individual who does not have your own bank account,
    please review the Notice of Check Cashing Options accompanying this Claim                                      One Check        Multiple Checks
    Form. After reviewing this Notice, elect whether you prefer to receive one
    check or multiple checks:

Provide the address to which you would like the check(s) to be sent in the space below, if it differs from the address provided in Section II.

67. Payment Address:               Street


                                   City                                            State                Zip Code               Country




                                                       Full Review Final Payment Claim Form – Page 13
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Name:                                            SSN or EIN:                                             Claimant #:


                                                  SECTION VIII. SIGNATURE

I certify that the information provided in this Full Review Final Payment Claim Form is true and accurate to the best of my knowledge, and I
understand that false statements or claims made in connection with this Full Review Final Payment Claim Form may result in fines,
imprisonment, and/or any other remedy available by law to the Federal Government, and that suspicious claims will be forwarded to federal,
state, and local law enforcement agencies for possible investigation and prosecution.
By submitting this Full Review Final Payment Claim Form, I consent to the use and disclosure by the Gulf Coast Claims Facility (“GCCF”)
and those assisting the GCCF of any information about me that it believes necessary and/or helpful to process my claim for compensation
and any payment resulting from that claim, including any appeal of that payment, legitimate business purposes associated with administering
the GCCF and providing adequate documentation for insurance coverage of responsible parties, and/or as otherwise required by law,
regulation or judicial process. My consent also includes release to the GCCF by the relevant state unemployment compensation agency of
any information regarding any unemployment benefits I received for periods of unemployment on or after April 20, 2010.


Signature:                                                                           Date:                   ___/___/____
                                                                                                             (Month/Day/Year)


                          First                                Middle                             Last
Printed Name:


Title, if a
business:



Has anyone, other than a family member or an attorney you identified in Section III,
                                                                                                                  Yes           No
assisted you in the preparation of this Claim Form?

Name of individual and company, if applicable:



                                                   How to Submit this Claim Form

Submit this Full Review Final Payment Claim Form and the supporting documents to the GCCF by one of the following methods:


               Regular Mail:                       Overnight, Certified or Registered Mail:                          Fax:
         Gulf Coast Claims Facility                       Gulf Coast Claims Facility                            1-866-682-1772
      Kenneth R. Feinberg, Administrator             Kenneth R. Feinberg, Administrator
               P.O. Box 9658                             5151 Blazer Pkwy., Suite A                           Email Attachment:
          Dublin, OH 43017-4958                               Dublin, OH 43017                               info@gccf-claims.com


When attaching your supporting documents, be sure to provide the appropriate identification number (your Claimant Identification
Number, Social Security Number, or other Tax Identification Number). Attach all supporting documents to the Claim Form and submit
your claim to the GCCF.




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                                                       GULF COAST CLAIMS FACILITY
                                                    RELEASE AND COVENANT NOT TO SUE

                                  Important Information About the Attached Release And Covenant Not to Sue

The Gulf Coast Claims Facility (the “GCCF”) is the official way for Individuals and Businesses to file claims for costs and damages incurred as a
result of the April 20, 2010 blowout of the Macondo Well, the sinking of Transocean’s Deepwater Horizon drilling rig, and the subsequent oil spill
in the Gulf of Mexico (the “Incident”). The GCCF and its Claims Administrator, Kenneth R. Feinberg, act for and on behalf of BP Exploration &
Production, Inc. (“BP”) in fulfilling BP’s statutory obligations as a “responsible party” under the Oil Pollution Act of 1990 (“OPA”).

All claimants have the right to consult with an attorney of their own choosing prior to accepting any settlement or signing a release
of legal rights.

If you disagree with the GCCF’s decision on your Final Payment claim, you have the right to submit the claim to the National Pollution Funds
Center (“NPFC”), the Coast Guard office responsible for evaluating and approving OPA claims, or as an alternative you have the right to file a
claim in court, including in the multidistrict litigation pending before the United States District Court for the Eastern District of Louisiana, titled, In
re Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010 (MDL No. 2179). The multidistrict litigation is a
consolidated grouping of federal lawsuits arising out of the Incident. General information on the procedure for filing a claim with the NPFC may
be obtained from the Director of the National Pollution Funds Center, NPFC MS 7100, U.S. Coast Guard, 4200 Wilson Blvd., Suite 1000,
Arlington, VA 20598-7100, (800) 280-7118, or from the NPFC website at www.uscg.mil/npfc/claims. Information regarding the multidistrict
litigation may be obtained from the court’s website at www.laed.uscourts.gov.

The attached Release and Covenant Not to Sue (“Release”) is a binding legal document. By signing this document, you are forever waiving and
releasing all claims that you may have against BP or any other party other than claims for bodily injury (including claims alleging a mental health
injury) (collectively “Bodily Injury”) or by shareholders of BP or other Released Parties for alleged violations of Securities laws (“Securities
Claim”) in connection with the Incident.

You are under no obligation to accept the final payment offered to you by the Gulf Coast Claims Facility. You are free to reject the final payment
offered by the Gulf Coast Claims Facility and to pursue other means of compensation. If you want to file a lawsuit regarding the Incident or make
a claim against the Oil Spill Liability Trust Fund, do not sign this Release.

By signing the attached Release, you are forever giving up and discharging any rights which you may have for any costs, damages or other relief
related to or arising from the Incident (excepting claims for Bodily Injury or Securities Claim), even if you are not currently aware of such costs or
damages and even if such costs or damages arise in the future (i.e., additional oil impacts) or do not manifest themselves until the future.

By signing the attached Release, you acknowledge that you have read and understand the terms of the Release, and that you execute the Release
voluntarily and without being pressured or influenced by, and without relying upon, any statement or representation made by any person acting on
behalf of BP or any other released party.

If you are represented by an attorney in connection with your claim, confer with your attorney before signing this Release.

For a Business Claimant, if the business is a sole proprietorship and you are the owner and you are married, or if the business is jointly owned by
you and your spouse, both you and your spouse must sign the Release. For an Individual Claimant, if you are married, both you and your spouse
must sign the Release. You and your spouse should not sign the Release unless you both intend to release all claims.

Claimant acknowledges that claimant has read and understands the information above. Claimant elects to accept the Final Payment Offer as a final
settlement of all claims against any party in connection with the Incident (other than claims for Bodily Injury or Securities Claim).

Claimant consents to the use and disclosure by the GCCF and those assisting the GCCF of any information that it believes necessary and/or helpful
to process claimant’s claim for compensation and payment including any legitimate business purposes associated with administering the GCCF and
providing adequate documentation for insurance coverage of responsible parties, and/or as otherwise required by law, regulation or judicial
process.


______________________________________________________________________________                                     ______________________________
Signature of Claimant                                                                                              Date

I acknowledge that I have read and understand the information above. I consent to the claimant’s election to accept the Final Payment Offer as a
final settlement of all claims of claimant against any party in connection with the Incident (other than claims for Bodily Injury or Securities Claim).


_______________________________________________________________________________                                    ______________________________
Spousal Signature (if applicable)                                                                                  Date




                                                                                           Ex. 18
                                                                                           Sample Release and Covenant Not to Sue,
                                                                                           http://www.gulfcoastclaimsfacility.com/sample_release.pdf (last
                                                                                           visited Feb 28, 2011).
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                                        RELEASE AND COVENANT NOT TO SUE
1.   In consideration of payment in the amount of __________, Claimant hereby releases and forever discharges, and covenants not
     to sue BP Exploration & Production Inc. (“BP”) and the other Released Parties, including but not limited to the parties listed in
     Attachment A to this Release, for any losses, damages, costs, expenses, injuries, claims, causes of actions, liabilities, or other
     relief that Claimant has or may have, whether known or unknown, whether present or future, whether direct or indirect,
     whether legal or equitable, arising from or relating in any way to the April 20, 2010 blowout of the Macondo Well, the sinking
     of Transocean’s Deepwater Horizon drilling rig, and the subsequent oil spill in the Gulf of Mexico (the “Incident”)
     (collectively, “Claims”), provided however that this Release does not apply to claims (i) for bodily injury (including claims
     alleging a mental health injury) (“Bodily Injury”) or (ii) by shareholders of BP or other Released Parties for alleged violations
     of securities laws (“Securities Claim”).

2.   Claimant also, on behalf of Claimant’s spouse, heirs, beneficiaries, agents, estates, executors, administrators, personal
     representatives, subsidiaries, parents, affiliates, partners, limited partners, members, joint venturers, shareholders,
     predecessors, successors, assigns, insurers, and attorneys (collectively, “Affiliates”), hereby releases and forever discharges,
     and covenants not to sue BP and the other Released Parties for any Claims released by Claimant pursuant to Paragraph 1
     above. With regard to an insurer of the Claimant, notwithstanding anything to the contrary in the foregoing, the execution of
     this Release by Claimant shall not release the claims of an insurer of Claimant if and only if the Claimant has disclosed in
     writing on Claimant’s Full Review Final Claim Form for Final Payment or Emergency Advance Payment Claim Form
     submitted to the Gulf Coast Claims Facility the fact of a payment, and the amount of the payment, by the insurer to Claimant.

3.   This Release applies to all Claims regardless of the legal or equitable theory (including legal and equitable theories
     under federal, state, local, and international law, and including without limitation statutory law, regulation, common law,
     maritime law, strict liability, negligence, gross negligence, punitive damages, nuisance, trespass, and all other legal and
     equitable theories), whether existing now or arising in the future, arising out of or in any way relating to the Incident,
     provided however that this Release does not apply to claims for Bodily Injury or Securities Claim.
4.   Released Parties means anyone who is or could be responsible or liable in any way for the Incident or any damages related
     thereto, whether a person, company or governmental entity, including (but not limited to) BP, other potentially responsible or
     liable parties, including but not limited to the parties listed in Attachment A to this Release, the federal Oil Spill Liability Trust
     Fund and any state or local fund, and each of their respective Affiliates as defined above.
5.   Claimant represents and warrants that Claimant: (i) has authority to execute this Release; and (ii) has not sold or
     otherwise transferred or assigned any of the Claims, or any interests in such Claims.
6. Claimant represents and warrants that Claimant has not received any payment from any insurer or other party (other than
   BP or the GCCF) in connection with the Incident, other than payments disclosed on the Full Review Final Claim Form
   for Final Payment. However, the representation and warranty contained in this section (6) is not applicable to a Claimant
   electing to submit a Quick Payment Final Claim Form and receive a Quick Payment.
7. Claimant will dismiss with prejudice within 10 days of executing this Release any litigation concerning the Incident (other
   than litigation alleging only Bodily Injury or Securities Claim) filed by or on behalf of Claimant against BP or any other
   Released Parties. Claimant also will withdraw (the obligation to withdraw is satisfied by affirmatively declining to participate
   if and when the Claimant receives any communication giving Claimant the option of participating or not participating in a
   class action or similar procedural device) from any existing and will not join any new class actions or similar procedural
   devices concerning or relating to the Incident (other than class actions or similar procedural devices alleging only Bodily
   Injury or Securities Claim).
8.  This Release is not intended to prevent any of the Released Parties from exercising their respective rights of contribution,
    subrogation, or indemnity under the Oil Pollution Act of 1990 (“OPA”) or any other law. As this Release is fully and
    completely resolving, together with all other Claims, Claimant’s claim under OPA, BP is hereby subrogated to any and all
    rights that Claimant has arising from the Incident.
9. The payment to Claimant is made without any admission of liability or wrongdoing, or any acknowledgment that the law
    recognizes any allegation referenced herein, by BP or any other Released Party.
10. The provisions of this Release and all questions with respect to the construction and enforcement thereof and the rights and
    liabilities hereto shall be governed by, and construed and enforced in accordance with, the laws of the state of residence of the
    Claimant at the time of signing this Release without regard to conflicts of laws principles.
11. This Release supersedes any and all other agreements, written or oral, between BP and Claimant with respect to such
    subject matter of this Release.
12. If there is no signature on the line below for Claimant’s Spouse, Claimant represents and warrants that Claimant is not
    married.
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                                RELEASE AND COVENANT NOT TO SUE


                       Release and Covenant Not to Sue – Signature by the Claimant

As the Claimant, or authorized signatory of the Claimant, as set forth in the Claim Form, I am signing this
Release and Covenant Not to Sue:


Signature:
                                 SAMPLE DO NOT SIGN
Printed Name:

Your Title, if a
Business:

                            (Month/Day/Year): _____/_____/______
Date:

          Release and Covenant Not to Sue – Signature by the Claimant’s Spouse (if applicable)


As the spouse of the individual signing above, I am signing this Release and Covenant Not to Sue:

Signature:
                                 SAMPLE DO NOT SIGN
Printed Name:


Date:                       (Month/Day/Year): _____/_____/______
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                                                      Attachment A

Aerotek, Inc.
Ameri-Force, Inc.
Anadarko Petroleum Company
Anadarko Petroleum Corporation
Anadarko E&P Company LP
Art Catering, Inc.
Ashland
BJ Services Company, USA
BP America Inc.
BP America Production Company
BP Company North America Inc.
BP Corporation North America Inc.
BP Corporation North America Inc. Savings Plan Investment Oversight Committee
BP Energy Company
BP Exploration (Alaska) Inc.
BP Global Special Products (America) Inc.
BP Holdings North America Limited
BP plc
BP Products North America Inc.
Brett Robinson Gulf Corporation
Cameron Corporation
Cameron International Corporation f/k/a Cooper Cameron Corporation
Cameron International Corporation d/b/a/ Cameron Systems Corporation
Center for Toxicology and Environmental Health L.L.C.
Chouest Shorebase Services, LLC
Clean Harbors
Core 4 Kebawk, LLC
Crowder/Gulf Joint Venture
Crowder Gulf Disaster Recovery
Diamond Offshore Company
DOF Subsea USA, Inc.
Drill-Quip, Inc.
Entrix, Inc.
Environmental Standards
EPS Corporation
ERG
ES&H Environmental Services
ESIS, Inc.
Exponent
Global Diving & Salvage, Inc.
Gulf Offshore Logistics, LLC
Gulf Offshore Logistics International,LLC
Halliburton Energy Services, Inc.
Halliburton Company
Hamilton Eng.
Hepaco
Hilcorp Energy Company
Hyundai Heavy Industries Co. Ltd, Inc.
Hyundai Motor Company
In Rem Vessels
Island Ventures II
Jupiter Insurance Limited
LaBorde Marine Services, LLC
Lloyd’s of London
Marine Spill Response Corporation
MEG Energy Corp
M-I L.L.C.
M-I Drilling Fluids L.L.C.
M-I Swaco
Miller Environmental Group, Inc.
Mitsui & Co. (USA), Inc.
Mitsui & Co. Ltd.
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Mitsui Oil Exploration Co. Ltd.
Moran Environmental Recovery, LLC
MOEX Offshore 2007 LLC
Moex USA Corporation
MV Monica Ann
MV Pat Tilman
MV Damon B. Bankston
MV Max Chouest
MV Ocean Interventions
MV C. Express
MV Joe Griffin
MV Mr. Sidney
MV Hilda Lab
MV Sailfish
MV Seacor Washington
MV Seacor Vanguard
Nalco Holding Company
Nalco Finance Holdings LLC
Nalco Finance Holdings Inc.
Nalco Holdings LLC
Nalco Company
Nautical Ventures, LLC
Nautical Solutions, LLC
O’Brien’s Response Management, Inc.
Ocean Runner, Inc.
Oceaneering International, Inc.
Offshore Cleaning Systems L.L.C.Offshore Service Vessels, LLC
Offshore Inland Marine & Oilfield Services, Inc.
Ranger Offshore, Inc.
Reel Pipe, LLC
Schlumberger, Ltd.
Seacor Marine, LLC
Seacor Marine, Inc.
Seacor Marine International, Inc.
Siemens Financial, Inc.
Seafairer Boat, LLC
State Street Bank and Trust Company
Subsea 7 LLC
The Response Group, Inc.
TestAmerica, Inc.,
Tiburon Divers, Inc.
Tidewater Marine LLC
Tiger Safety, LLC
TL Wallace
Transocean Inc.
Transocean Deepwater, Inc.
Transocean Drilling (U.S.A.) Inc.
Transocean Enterprise Inc.
Transocean Holdings Inc.
Transocean Holdings LLC
Transocean Ltd.
Transocean Offshore Deepwater Drilling, Inc.
Transocean Offshore USA, Inc.
Triton Asset Leasing GmbH
Triton Hungary Asset Management KFT
Triton Hungary Asset Management Limited Liability Company
USES/Construct Corps
Weatherford International Ltd.
Weatherford U.S. L.P
Worley Catastrophe Services, LLC
Worley Catastrophe Response, LLC
